              Case 5:20-mc-00024-JGB-SP     Document 1-1 Filed 10/06/20 Page 1 of 3 Page ID #:16
                            D=7C32!BC/C3B!27BCA71C!1>DAC$!13=CA/;!27BCA71C!>4!1/;74>A=7/!!
                                                                                17E7;!1>E3A!B633C
7&!"J#!?;/7=C744B!!' =[XV^!Ubk!\Y!lbh!TeX!eXceXfXag\aZ!lbhefX_Y!!!                     (           2343=2/=CB!!!!!!!!" =[XV^!Ubk!\Y!lbh!TeX!eXceXfXag\aZ!lbhefX_Y!!!                            (



'U(!=bhagl!bY!LXf\WXaVX!bY!@\efg!F\fgXW!J_T\ag\YY                                                  =bhagl!bY!LXf\WXaVX!bY!@\efg!F\fgXW!>XYXaWTag
"(2'(.0!*,!1%/%!.+&*,0*))!'&/(/#                                                                   "*,!1%/%!.+&*,0*))!'&/(/!-,+3#

'V(!;ggbeaXlf!')=D@!,4@8$!&77D8EE!4A7!08?8C<BA8!,G@58D(!!CY!lbh!TeX!                               ;ggbeaXlf!')=D@!,4@8$!&77D8EE!4A7!08?8C<BA8!,G@58D(!!CY!lbh!TeX!!
eXceXfXag\aZ!lbhefX_Y)!cebi\WX!g[X!fT`X!\aYbe`Tg\ba+                                               eXceXfXag\aZ!lbhefX_Y)!cebi\WX!g[X!fT`X!\aYbe`Tg\ba+




77&!!0/B7B!>4!8DA7B271C7>=!'J_TVX!Ta!R!\a!baX!Ubk!ba_l+(                                   777&!17C7I3=B67?!>4!?A7=17?/;!?/AC73B*@be!>\iXef\gl!=TfXf!Ia_l
                                                                                                'J_TVX!Ta!R!\a!baX!Ubk!Ybe!c_T\ag\YY!TaW!baX!Ybe!WXYXaWTag(
                                                                                                                         ?C4         234                                              ?C4           234
    .+!O+M+!AbiXea`Xag!                   0+!@XWXeT_!KhXfg\ba!'O+M+!!                                                          .           .   CaVbecbeTgXW!be!Je\aV\cT_!J_TVX!!            1             1
                                                                                           =\g\mXa!bY!N[\f!MgTgX
    J_T\ag\YY                             AbiXea`Xag!Hbg!T!JTegl(                                                                              bY!<hf\aXff!\a!g[\f!MgTgX
                                                                                           =\g\mXa!bY!;abg[Xe!MgTgX            /           /   CaVbecbeTgXW!TaW!Je\aV\cT_!J_TVX!            2             2
                                                                                                                                               bY!<hf\aXff!\a!;abg[Xe!MgTgX
    /+!O+M+!AbiXea`Xag!                   1+!>\iXef\gl!'CaW\VTgX!=\g\mXaf[\c!              =\g\mXa!be!MhU]XVg!bY!T!!
                                                                                           @beX\Za!=bhagel                     0           0 @beX\Za!HTg\ba                                 3             3
    >XYXaWTag                             bY!JTeg\Xf!\a!CgX`!CCC(

7E&!>A757=!'J_TVX!Ta!R!\a!baX!Ubk!ba_l+(
                                                                                                                                                      3+!Gh_g\W\fge\Vg!         5+!Gh_g\W\fge\Vg!
    !.+!Ie\Z\aT_!!       /+!LX`biXW!Yeb`!!           0+!LX`TaWXW!Yeb`            1+!LX\afgTgXW!be!           !2+!NeTafYXeeXW!Yeb`!;abg[Xe!            !!!!!F\g\ZTg\ba!*!        !!!!!F\g\ZTg\ba!*!
    !!!!!JebVXXW\aZ      !!!!MgTgX!=bheg             !!!!;ccX__TgX!=bheg         !!!!LXbcXaXW                !!!!!!>\fge\Vg!!'McXV\Yl(                !!!!!NeTafYXe             !!!!!>\eXVg!@\_X


E&!A3@D3BC32!7=!1><?;/7=C-!!8DAH!23</=27                                     SXf              Hb      '=[XV^!"SXf"!ba_l!\Y!WX`TaWXW!\a!Vb`c_T\ag+(
1;/BB!/1C7>=![UMNX!4&A&1\&?&!*+7!                          SXf         Hb                             <>=3H!23</=232!7=!1><?;/7=C-!!!!!#
E7&!1/DB3!>4!/1C7>=!'=\gX!g[X!O+M+!=\i\_!MgTghgX!haWXe!j[\V[!lbh!TeX!Y\_\aZ!TaW!je\gX!T!Ue\XY!fgTgX`Xag!bY!VThfX+!!>b!abg!V\gX!]he\fW\Vg\baT_!fgTghgXf!ha_Xff!W\iXef\gl+(


E77&!=/CDA3!>4!BD7C!'J_TVX!Ta!R!\a!baX!Ubk!ba_l(+
     >C63A!BC/CDC3B!                   1>=CA/1C             A3/;!?A>?3ACH!1>=C+                    7<<75A/C7>=                     ?A7B>=3A!?3C7C7>=B                      ?A>?3ACH!A756CB
    042!!@T_fX!=_T\`f!;Vg            ..-!CafheTaVX                 /1-!Nbegf!gb!FTaW               13/!HTgheT_\mTg\ba!               6JKNJY!1VXW[Y-                  5/-!=bcle\Z[gf
                                                                                                   ;cc_\VTg\ba
                                     ./-!GTe\aX                    /12!Nbeg!JebWhVg!!                                               130!;_\Xa!>XgT\aXX               50-!JTgXag
    043!Kh\!NT`!!                                                  F\TU\_\gl                     132!Ig[Xe!                         2.-!Gbg\baf!gb!PTVTgX!
    '0.!OM=!04/6'T((                                               /6-!;__!Ig[Xe!LXT_!                                              MXagXaVX!                        502!JTgXag!*!;UUeXi\TgXW!
                                     .0-!G\__Xe!;Vg                                              C``\ZeTg\ba!;Vg\baf
    1--!!MgTgX!!                                                   JebcXegl                          C>ACB!                         20-!AXaXeT_                      HXj!>ehZ!;cc_\VTg\ba
                                     .1-!HXZbg\TU_X!!!
    LXTccbeg\ba`Xag                  Cafgeh`Xag                        C>ACB!                  ?3AB>=/;!?A>?3ACH                    202!>XTg[!JXaT_gl                51-!NeTWX`Te^
    1.-!!;ag\gehfg                   .2-!LXVbiXel!bY!!!!         ?3AB>=/;!7=8DAH                                                                                     55-!>XYXaW!NeTWX!MXVeXgf!;Vg!
                                                                                                 04-!Ig[Xe!@eThW                         !!>ZQNX-
    10-!!<Ta^f!TaW!<Ta^\aZ!          IiXecTl`Xag!%!               0.-!;\ec_TaX                                                                                       bY!/-.3!'>NM;(
                                     ?aYbeVX`Xag!bY!                                               04.!Nehg[!\a!FXaW\aZ             21-!GTaWT`hf,Ig[Xe
    12-!!=b``XeVX,C==!!!!                                         0.2!;\ec_TaX!                                                                                         B>17/;!B31DA7CH
                                     DhWZ`Xag                     JebWhVg!F\TU\_\gl                                                 22-!=\i\_!L\Z[gf
    LTgXf,?gV+                                                                                     05-!Ig[Xe!JXefbaT_!
                                                                  0/-!;ffTh_g)!F\UX_!%!            JebcXegl!>T`TZX                                                   53.!BC;!'.062YY(
                                      .2.!GXW\VTeX!;Vg                                                                              222!Je\fba!=baW\g\ba
    13-!!>XcbegTg\ba                                              M_TaWXe!
                                                                                                   052!JebcXegl!>T`TZX!                                              53/!<_TV^!FhaZ!'6/0(
    14-!!LTV^XgXXe!CaY_h*!            .2/!LXVbiXel!bY!!                                                                             23-!=\i\_!>XgT\aXX!
                                                                  00-!@XW+!?`c_blXef&!             JebWhVg!F\TU\_\gl!!              =baW\g\baf!bY!
    XaVXW!%!=beehcg!IeZ+              >XYTh_gXW!MghWXag!          F\TU\_\gl!                                                                                         530!>CQ=,>CQQ!'1-2!'Z((
                                      FbTa!'?kV_+!PXg+(                                             0/=9AD?C1H                      =baY\aX`Xag
    15-!!=bafh`Xe!=eXW\g                                          01-!GTe\aX                                                                                         531!MMC>!N\g_X!RPC
                                                                                                   1//!;ccXT_!/5!!             4>A437CDA3'?3=/;CH
    16-!!=TU_X,MTg!NP                .20!LXVbiXel!bY!!            012!GTe\aX!JebWhVg!
                                     IiXecTl`Xag!bY!                                               OM=!.25                      3/2!>ehZ!LX_TgXW!                    532!LMC!'1-2!'Z((
    52-!!MXVhe\g\Xf,=b`*!                                         F\TU\_\gl
                                     PXg+!<XaXY\gf                                                 1/0!Q\g[WeTjT_!/5!!!!!       MX\mheX!bY!JebcXegl!/.!
    `bW\g\Xf,?kV[TaZX                                             02-!Gbgbe!PX[\V_X                                             OM=!55.                                    4323A/;!C/G!BD7CB
                                     .3-!MgbV^[b_WXef&!!!                                          OM=!.24
    56-!!Ig[Xe!MgTghgbel!            !Mh\gf                       022!Gbgbe!PX[\V_X!                17E7;!A756CB                 36-!Ig[Xe                           54-!NTkXf!'O+M+!J_T\ag\YY!be!
    ;Vg\baf                                                       JebWhVg!F\TU\_\gl                                                                                  >XYXaWTag(
                                     .6-!Ig[Xe!                                                    11-!Ig[Xe!=\i\_!L\Z[gf                 ;/0>A                      54.!CLM*N[\eW!JTegl!/3!OM=!
    56.!!;Ze\Vh_gheT_!;Vgf       8                                03-!Ig[Xe!JXefbaT_!
                                     =bageTVg!!!                  Ca]hel                           11.!Pbg\aZ                      4.-!@T\e!FTUbe!MgTaWTeWf!!!       43-6
    560!!?ai\eba`XagT_!              !                                                                                             ;Vg
    GTggXef                          .62!=bageTVg!!               03/!!JXefbaT_!Ca]hel*
                                     JebWhVg!F\TU\_\gl            GXW!GT_ceTg\VX                   11/!?`c_bl`Xag                  4/-!FTUbe,GZ`g+!
    562!!@eXXWb`!bY!CaYb+!                                        032!JXefbaT_!Ca]hel*             110!Bbhf\aZ,                    LX_Tg\baf
    ;Vg                              .63!@eTaV[\fX                                                 ;VVb``bWTg\baf
                                                                  JebWhVg!F\TU\_\gl                                                41-!LT\_jTl!FTUbe!;Vg
    563!!;eU\geTg\ba                 A3/;!?A>?3ACH                                                 112!;`Xe\VTa!j\g[!
                                                                  034!BXT_g[!=TeX,                                                 42.!@T`\_l!TaW!GXW\VT_!
                                     /.-!FTaW!                    J[Te`TVXhg\VT_!                  >\fTU\_\g\Xf*
    566!!;W`\a+!JebVXWheXf!                                                                        ?`c_bl`Xag                      FXTiX!;Vg
                                     =baWX`aTg\ba                 JXefbaT_!Ca]hel!
    ;Vg,LXi\Xj!bY!;ccXT_!bY!                                      JebWhVg!F\TU\_\gl                113!;`Xe\VTa!j\g[!              46-!Ig[Xe!FTUbe!
    ;ZXaVl!>XV\f\ba!!                //-!@beXV_bfheX                                                                               F\g\ZTg\ba
                                                                  035!;fUXfgbf!                    >\fTU\_\g\Xf*Ig[Xe
    62-!!=bafg\ghg\baT_\gl!bY!       /0-!LXag!FXTfX!%!            JXefbaT_!Ca]hel!                                                 46.!?`c_blXX!LXg+!CaV+!
    MgTgX!MgTghgXf!                                                                                115!?WhVTg\ba                   MXVhe\gl!;Vg
                                     ?]XVg`Xag                    JebWhVg!F\TU\_\gl

4>A!>44713!DB3!>=;H-!!!!                   =TfX!Hh`UXe7
1E%,)!")('*(#                                                                      17E7;!1>E3A!B633C                                                                               ?JPN!)!VO!+
               Case 5:20-mc-00024-JGB-SP     Document 1-1 Filed 10/06/20 Page 2 of 3 Page ID #:17
                             D=7C32!BC/C3B!27BCA71C!1>DAC$!13=CA/;!27BCA71C!>4!1/;74>A=7/!!
                                                                                   17E7;!1>E3A!B633C

E777&!!!E3=D37!!Sbhe!TafjXef!gb!g[X!dhXfg\baf!UX_bj!j\__!WXgXe`\aX!g[X!W\i\f\ba!bY!g[X!=bheg!gb!j[\V[!g[\f!VTfX!j\__!UX!\a\g\T__l!Tff\ZaXW+!!N[\f!\a\g\T_!Tff\Za`Xag!\f!fhU]XVg!
gb!V[TaZX)!\a!TVVbeWTaVX!j\g[!g[X!=bheg&f!AXaXeT_!IeWXef)!hcba!eXi\Xj!Ul!g[X!=bheg!bY!lbhe!=b`c_T\ag!be!Hbg\VX!bY!LX`biT_+
@D3BC7>=!/-!!!FJY!ZQRY!LJYN!XNTV\NM!
OXVT!YZJZN!LV[XZ.!                                                    MN;N?!=;M?!Q;M!J?H>CHA!CH!NB?!=IOHNS!I@7                                      CHCNC;F!>CPCMCIH!CH!=;=>!CM7
!!!!!!!!!!!!!!!!!!!!!!!!!! SXf     Hb
!!                                                         Fbf!;aZX_Xf)!PXagheT)!MTagT!<TeUTeT)!be!MTa!Fh\f!IU\fcb                                             QXfgXea
CY!"ab)!"!f^\c!gb!KhXfg\ba!<+!!CY!"lXf)"!V[XV^!g[X!
Ubk!gb!g[X!e\Z[g!g[Tg!Tcc_\Xf)!XagXe!g[X!!                 IeTaZX                                                                                              Mbhg[Xea
VbeeXfcbaW\aZ!W\i\f\ba!\a!eXfcbafX!gb!!
KhXfg\ba!?)!UX_bj)!TaW!Vbag\ahX!Yeb`!g[XeX+                L\iXef\WX!be!MTa!<XeaTeW\ab                                                                          ?TfgXea



@D3BC7>=!0-!!!7Y!ZQN!DURZNM!BZJZNY$!VX! 0&)&!!>b!2-$!be!`beX!bY!g[X!WXYXaWTagf!j[b!eXf\WX!\a!                         S?M+!!Sbhe!VTfX!j\__!\a\g\T__l!UX!Tff\ZaXW!gb!g[X!Mbhg[Xea!>\i\f\ba+!
VUN!VO!RZY!JPNULRNY!VX!NTWSV^NNY$!J! g[X!W\fge\Vg!eXf\WX!\a!IeTaZX!=b+9!                                              ?agXe!"Mbhg[Xea"!\a!eXfcbafX!gb!KhXfg\ba!?)!UX_bj)!TaW!Vbag\ahX!
?;/7=C744!RU!ZQRY!JLZRVU.!              !!                                                                            Yeb`!g[XeX+
!!                                                    6<86>!BA8!B9!F<8!5BI8E!FB!F<8!D=;<F
!!                   SXf           Hb
                                                                                                                      HI+!!=bag\ahX!gb!KhXfg\ba!<+/+
!!!!!!!!!!
!!                                                    0&*&!!>b!2-$!be!`beX!bY!g[X!WXYXaWTagf!j[b!eXf\WX!\a!           S?M+!!Sbhe!VTfX!j\__!\a\g\T__l!UX!Tff\ZaXW!gb!g[X!?TfgXea!>\i\f\ba+!!
CY!"ab)!"!f^\c!gb!KhXfg\ba!=+!!CY!"lXf)"!TafjXe!      g[X!W\fge\Vg!eXf\WX!\a!L\iXef\WX!TaW,be!MTa!<XeaTeW\ab!         ?agXe!"?TfgXea"!\a!eXfcbafX!gb!KhXfg\ba!?)!UX_bj)!TaW!Vbag\ahX!
KhXfg\ba!<+.)!Tg!e\Z[g+                               =bhag\Xf9!!'=baf\WXe!g[X!gjb!Vbhag\Xf!gbZXg[Xe+(!               Yeb`!g[XeX+
                                                      !!
                                                      6<86>!BA8!B9!F<8!5BI8E!FB!F<8!D=;<F                             HI+!!Sbhe!VTfX!j\__!\a\g\T__l!UX!Tff\ZaXW!gb!g[X!QXfgXea!>\i\f\ba+!!
                                                                                                                      ?agXe!"QXfgXea"!\a!eXfcbafX!gb!KhXfg\ba!?)!UX_bj)!TaW!Vbag\ahX!
                                                                                                                      Yeb`!g[XeX+

@D3BC7>=!1-!!!7Y!ZQN!DURZNM!BZJZNY$!VX! 1&)&!!>b!2-$!be!`beX!bY!g[X!c_T\ag\YYf!j[b!eXf\WX!\a!g[X!                     S?M+!!Sbhe!VTfX!j\__!\a\g\T__l!UX!Tff\ZaXW!gb!g[X!Mbhg[Xea!>\i\f\ba+!
VUN!VO!RZY!JPNULRNY!VX!NTWSV^NNY$!J! W\fge\Vg!eXf\WX!\a!IeTaZX!=b+9!                                                  ?agXe!"Mbhg[Xea"!\a!eXfcbafX!gb!KhXfg\ba!?)!UX_bj)!TaW!Vbag\ahX!
2343=2/=C!RU!ZQRY!JLZRVU.!              !!                                                                            Yeb`!g[XeX+
!!                                                    6<86>!BA8!B9!F<8!5BI8E!FB!F<8!D=;<F
!!                   SXf          Hb
                                                                                                                      HI+!!=bag\ahX!gb!KhXfg\ba!=+/+
!!!!!!!!!!
!!                                                    1&*&!!>b!2-$!be!`beX!bY!g[X!c_T\ag\YYf!j[b!eXf\WX!\a!g[X!       S?M+!!Sbhe!VTfX!j\__!\a\g\T__l!UX!Tff\ZaXW!gb!g[X!?TfgXea!>\i\f\ba+!!
CY!"ab)!"!f^\c!gb!KhXfg\ba!>+!!CY!"lXf)"!TafjXe!      W\fge\Vg!eXf\WX!\a!L\iXef\WX!TaW,be!MTa!<XeaTeW\ab!             ?agXe!"?TfgXea"!\a!eXfcbafX!gb!KhXfg\ba!?)!UX_bj)!TaW!Vbag\ahX!
KhXfg\ba!=+.)!Tg!e\Z[g+                               =bhag\Xf9!!'=baf\WXe!g[X!gjb!Vbhag\Xf!gbZXg[Xe+(!               Yeb`!g[XeX+
                                                      !!
                                                      6<86>!BA8!B9!F<8!5BI8E!FB!F<8!D=;<F                             HI+!!Sbhe!VTfX!j\__!\a\g\T__l!UX!Tff\ZaXW!gb!g[X!QXfgXea!>\i\f\ba+!!
                                                                                                                      ?agXe!"QXfgXea"!\a!eXfcbafX!gb!KhXfg\ba!?)!UX_bj)!TaW!Vbag\ahX!
                                                                                                                      Yeb`!g[XeX+
                                                                                                               /&!!                          0&!                            1&!!
                                                                                                                !!                    L\iXef\WX!be!MTa!           Fbf!;aZX_Xf)!PXagheT)!
@D3BC7>=!2-!!;VLJZRVU!VO!WSJRUZROOY!JUM!MNONUMJUZY.                                                       IeTaZX!=bhagl              <XeaTeW\ab!=bhagl            MTagT!<TeUTeT)!be!MTa!
                                                                                                                                                                   Fh\f!IU\fcb!=bhagl
CaW\VTgX!g[X!_bVTg\ba'f(!\a!j[\V[!2-$!be!`beX!bY!C?4=AF=99E!H<B!D8E=78!=A!F<=E!7=EFD=6F!
eXf\WX+!!'=[XV^!hc!gb!gjb!UbkXf)!be!_XTiX!U_Ta^!\Y!abaX!bY!g[XfX!V[b\VXf!Tcc_l+(
CaW\VTgX!g[X!_bVTg\ba'f(!\a!j[\V[!2-$!be!`beX!bY!7898A74AFE!H<B!D8E=78!=A!F<=E!
7=EFD=6F!eXf\WX+!!'=[XV^!hc!gb!gjb!UbkXf)!be!_XTiX!U_Ta^!\Y!abaX!bY!g[XfX!V[b\VXf!
Tcc_l+(

                 2&)&!!7Y!ZQNXN!JZ!SNJYZ!VUN!JUY]NX!RU!1VS[TU!/.                                                  2&*&!!7Y!ZQNXN!JZ!SNJYZ!VUN!JUY]NX!RU!1VS[TU!0.
                                          SXf              Hb                                                                           SXf            Hb
                     CY!"lXf)"!lbhe!VTfX!j\__!\a\g\T__l!UX!Tff\ZaXW!gb!g[X!!                                        CY!"lXf)"!lbhe!VTfX!j\__!\a\g\T__l!UX!Tff\ZaXW!gb!g[X!!
                                  MIONB?LH!>CPCMCIH+!                                                                             ?;MN?LH!>CPCMCIH+!
    !?agXe!"Mbhg[Xea"!\a!eXfcbafX!gb!KhXfg\ba!?)!!UX_bj)!TaW!Vbag\ahX!Yeb`!g[XeX+!                                  !?agXe!"?TfgXea"!\a!eXfcbafX!gb!KhXfg\ba!?)!!UX_bj+!
                           !CY!"ab)"!Zb!gb!dhXfg\ba!>/!gb!g[X!e\Z[g+!                                        !CY!"ab)"!lbhe!VTfX!j\__!UX!Tff\ZaXW!gb!g[X!Q?MN?LH!>CPCMCIH+!!!
                                                                                                                    ?agXe!"QXfgXea"!\a!eXfcbafX!gb!KhXfg\ba!?)!UX_bj+!


@D3BC7>=!3-!7URZRJS!2R\RYRVU.!                                                                                                CHCNC;F!>CPCMCIH!CH!=;=>

?agXe!g[X!\a\g\T_!W\i\f\ba!WXgXe`\aXW!Ul!KhXfg\ba!;)!<)!=)!be!>!TUbiX7

@D3BC7>=!4-!=VXZQNXU!1V[UZRNY.
>b!2-$!be!`beX!bY!c_T\ag\YYf!be!WXYXaWTagf!\a!g[\f!W\fge\Vg!eXf\WX!\a!PXagheT)!MTagT!<TeUTeT)!be!MTa!Fh\f!IU\fcb!Vbhag\Xf9                                       SXf           Hb
 1E%,)!")('*(#                                                                       17E7;!1>E3A!B633C                                                                    ?JPN!*!VO!+
                    Case 5:20-mc-00024-JGB-SP     Document 1-1 Filed 10/06/20 Page 3 of 3 Page ID #:18
                                  D=7C32!BC/C3B!27BCA71C!1>DAC$!13=CA/;!27BCA71C!>4!1/;74>A=7/!!
                                                                                17E7;!1>E3A!B633C

7G"J#&!!723=C71/;!1/B3B7!!BTf!g[\f!TVg\ba!UXXa!ceXi\bhf_l!Y\_XW!RU!ZQRY!LV[XZ9!!!!                                                                       HI                   S?M
!!
!!!!!!!!     CY!lXf)!_\fg!VTfX!ah`UXe'f(7

7G"K#&!A3;/C32!1/B3B7!!Cf!g[\f!VTfX!eX_TgXW!'Tf!WXY\aXW!UX_bj(!gb!Tal!V\i\_!be!Ve\`\aT_!VTfX'f(!ceXi\bhf_l!Y\_XW!RU!ZQRY!LV[XZ9!
                                                                                                                                                         HI                  S?M
             CY!lXf)!_\fg!VTfX!ah`UXe'f(7!!


             1R\RS!LJYNY!TeX!eX_TgXW!j[Xa!g[Xl!'V[XV^!T__!g[Tg!Tcc_l(7!

                         ;+!!;e\fX!Yeb`!g[X!fT`X!be!T!V_bfX_l!eX_TgXW!geTafTVg\ba)![TccXa\aZ)!be!XiXag8

                         <+!!=T__!Ybe!WXgXe`\aTg\ba!bY!g[X!fT`X!be!fhUfgTag\T__l!eX_TgXW!be!f\`\_Te!dhXfg\baf!bY!_Tj!TaW!YTVg8!be

                         =+!!@be!bg[Xe!eXTfbaf!jbh_W!XagT\_!fhUfgTag\T_!Whc_\VTg\ba!bY!_TUbe!\Y![XTeW!Ul!W\YYXeXag!]hWZXf+

             HbgX7!!N[Tg!VTfXf!`Tl!\aib_iX!g[X!fT`X!cTgXag)!geTWX`Te^)!be!Vbcle\Z[g!\f!abg)!\a!\gfX_Y)!fhYY\V\Xag!gb!WXX`!VTfXf!eX_TgXW+!!



             /!LR\RS!OVXONRZ[XN!LJYN!JUM!J!LXRTRUJS!LJYN!TeX!eX_TgXW!j[Xa!g[Xl!'V[XV^!T__!g[Tg!Tcc_l(7

                         ;+!!;e\fX!Yeb`!g[X!fT`X!be!T!V_bfX_l!eX_TgXW!geTafTVg\ba)![TccXa\aZ)!be!XiXag8

                         <+!!=T__!Ybe!WXgXe`\aTg\ba!bY!g[X!fT`X!be!fhUfgTag\T__l!eX_TgXW!be!f\`\_Te!dhXfg\baf!bY!_Tj!TaW!YTVg8!be
                         =+!!Caib_iX!baX!be!`beX!WXYXaWTagf!Yeb`!g[X!Ve\`\aT_!VTfX!\a!Vb``ba!TaW!jbh_W!XagT\_!fhUfgTag\T_!Whc_\VTg\ba!bY!
                         _TUbe!\Y![XTeW!Ul!W\YYXeXag!]hWZXf+


G&!!BC5=/CDA3!>4!/CC>A=3H!!
">A!B3;4%A3?A3B3=C32!;7C75/=C#-!                                                                                                        >;N?7

=VZRLN!ZV!1V[UYNS'?JXZRNY-!!N[X!fhU`\ff\ba!bY!g[\f!=\i\_!=biXe!M[XXg!\f!eXdh\eXW!Ul!FbVT_!Lh_X!0*.+!!N[\f!@be`!=P*4.!TaW!g[X!\aYbe`Tg\ba!VbagT\aXW![XeX\a!
aX\g[Xe!eXc_TVXf!abe!fhcc_X`Xagf!g[X!Y\_\aZ!TaW!fXei\VX!bY!c_XTW\aZf!be!bg[Xe!cTcXef!Tf!eXdh\eXW!Ul!_Tj)!XkVXcg!Tf!cebi\WXW!Ul!_bVT_!eh_Xf!bY!Vbheg+!!@be!
`beX!WXgT\_XW!\afgehVg\baf)!fXX!fXcTeTgX!\afgehVg\ba!f[XXg!'=P*-4.;(+




EXl!gb!MgTg\fg\VT_!VbWXf!eX_Tg\aZ!gb!MbV\T_!MXVhe\gl!=TfXf7

           =JZ[XN!VO!B[RZ!1VMN! !!!!!/KKXN\RJZRVU!    !           B[KYZJUZR\N!BZJZNTNUZ!VO!1J[YN!VO!/LZRVU
                                                      ;__!V_T\`f!Ybe![XT_g[!\afheTaVX!UXaXY\gf!'GXW\VTeX(!haWXe!N\g_X!.5)!JTeg!;)!bY!g[X!MbV\T_!MXVhe\gl!;Vg)!Tf!T`XaWXW+!!;_fb)!
             53.!        !           !!!!!BC;!    !   \aV_hWX!V_T\`f!Ul![bfc\gT_f)!f^\__XW!ahef\aZ!YTV\_\g\Xf)!XgV+)!Ybe!VXeg\Y\VTg\ba!Tf!cebi\WXef!bY!fXei\VXf!haWXe!g[X!cebZeT`+!!
                                                      '1/!O+M+=+!.602@@'U((

             53/!        !           !!!!!<F!     !   ;__!V_T\`f!Ybe!"<_TV^!FhaZ"!UXaXY\gf!haWXe!N\g_X!1)!JTeg!<)!bY!g[X!@XWXeT_!=bT_!G\aX!BXT_g[!TaW!MTYXgl!;Vg!bY!.636+!'0-!O+M+=+!
                                                      6/0(
                                                      ;__!V_T\`f!Y\_XW!Ul!\afheXW!jbe^Xef!Ybe!W\fTU\_\gl!\afheTaVX!UXaXY\gf!haWXe!N\g_X!/!bY!g[X!MbV\T_!MXVhe\gl!;Vg)!Tf!T`XaWXW8!c_hf!
             530!        !           !!!!!>CQ=! !     T__!V_T\`f!Y\_XW!Ybe!V[\_W&f!\afheTaVX!UXaXY\gf!UTfXW!ba!W\fTU\_\gl+!!'1/!O+M+=+!1-2!'Z((

             530!        !           !!!!!>CQQ! !     ;__!V_T\`f!Y\_XW!Ybe!j\Wbjf!be!j\WbjXef!\afheTaVX!UXaXY\gf!UTfXW!ba!W\fTU\_\gl!haWXe!N\g_X!/!bY!g[X!MbV\T_!MXVhe\gl!;Vg)!Tf!
                                                      T`XaWXW+!'1/!O+M+=+!1-2!'Z((


             531!        !           !!!!!MMC>!   !   ;__!V_T\`f!Ybe!fhcc_X`XagT_!fXVhe\gl!\aVb`X!cTl`Xagf!UTfXW!hcba!W\fTU\_\gl!Y\_XW!haWXe!N\g_X!.3!bY!g[X!MbV\T_!MXVhe\gl!;Vg)!Tf!
                                                      T`XaWXW+

             532!        !           !!!!!LMC!    !   ;__!V_T\`f!Ybe!eXg\eX`Xag!'b_W!TZX(!TaW!fhei\ibef!UXaXY\gf!haWXe!N\g_X!/!bY!g[X!MbV\T_!MXVhe\gl!;Vg)!Tf!T`XaWXW+!!!
                                                      '1/!O+M+=+!1-2!'Z((




1E%,)!")('*(#                                                                      17E7;!1>E3A!B633C                                                                    ?JPN!+!VO!+
